,       ,                  Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.1 Page 1 of 8

        I
                                                                                                                               FILED
    •           AO 243 (Rev. 2195)
                                             MOTIONlmoER28USC § 22SS TO VACATE, SET ASIDe, RCOFREC]UL                                    202018
                                                    SENTENCE BY A PERSON IN FEDeRAL CUSTO Y ,
                                                                                                                           CLERK us DISTRICT COURT
                                                                                       .                             SOUTHERN DISTRICT OF CALIFORNIA

    .I
        I                               (If movant has a sentence to be served in the future under a federaljud       ¥ttt whl he
                                     attack, he should file a motion In lite federal court which entered the judgment.)
                                                                                                                                                DEPUTY



                               MOTION TO VACATE, SeT ASIDE, OR CORRECT SENTENCE BY A PERSON IN FEDERAL CUSTODY


                                                                    Explanation and /na/TUCtions-Reod CarefUlly
            /

                         (1) This motion must be legibly handwritten or typewritten, and signed by the movant under penalty of perjury. Any false
                             statement of a material filet may serve as the basis for prosecution and conviction for perjury. All questions must be answered
                             concisely in the proper space on the form.

                         (2) Additional pages are not permitted except With respect to the filets which you I'Qly upon to Support your grounds for reUef. No
                             citation of aothorities need be furnished. Ifbriefs or &rguments are submitted, they should be submitted in the form of a
                             separate memorandum.

                         (3) Upon receipt, y~urmotlon will be filed ifit is in proper order. No fee is required with this motion.

                         (4) If you do not have the necessary funds for transcripts, counsel, appeal, and other costs connected with a motion of this
                              type; you may request permiSSion to proceed Informa pauperis. in which event you must execute form AO 240 or any
                              other form required by the court, setting forth information establishing your insbility to pay the costs. !fyou wish to
                              proceed '''forma pauperis, you must bave an authorized officer at the penal institution complete the certificate as to the
                              amount of money and securities on deposit to your credit in any account in the institution.

                         (5) Omy judgments entered by one court may be challenged in a single motion. Ifyou seek to cbaJlenge judgments entered by
                              different judges or divisions either in the same district or in different districts, you must file separate motions as to each
                              such judgment.                                                                                                              .

                         (6) Your attention is directed to the fact that you must include all grounds for relief and all facts supporting such grounds for
                             relief in the motion you file seeking relief from any judgment of conviction.

                         (7) When the motion is fuJly completed. the original and at least two copies must be mailed to the Cierk,ofthe United states
                          . District Court whose address is                                                                       'c·             .



                         (8) Motions which do not conform to these instructions will be returned with a notation as to the deficiency.
             Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.2 Page 2 of 8

•



    AO 243 (Rev. W)
                           MOTION UNDER 28 USC § 2255 TO VACATE, SET ASIDE, OR CORRECT
                                   SENTENCE BY A PERSON IN FEDERAL CUSTODY
                                                                           District
          United States District Court                                     Southern District Of California
    I Name orMovilnt
      Raul Alvarado
                                                                        II!I~ner J:lo.
                                                                           75922-198                      I~tf:cr-01128
    I PI~ ~1 ~l1u.ement
      FC! Vic torville Med II

                   UNITI!D.STATES OF AMERICA                          V.     Raul Alvarado
                                                                                            (name un<Ier which convicted)

                                                                 MOnON
        I. Name and location of court which entered the Judgment of conviction under attack         United States
          District Court For The Southern District Of Califorriia(San Diego)

        2. Date ofjudgment of conviction           November           08, 2013                                                 .
        3 Length of sentence                188 Months'
        4. NatuR ofotfense involved (all counts)   21 USC 841(a)(1)                      Conspiracy to Distribute
              M!1,tham)2hetamine




        S. What was your plea? (Check one) .
            (a) Not guilty        O'
             (b)Gui1ty               []:
             (c) Nolo contendere     0

           If you entered a guilty plea to one count or indictment, and ~ not guilty plea to another count or indictment, give details:

                                           ~W.



                                                                                                   .




        6. If you pleaded not guilty, what kind of trial did you have? (Check one)
             (a) III\)'              0
              (b) Judge only         0                N/A
         7. Did you testify at the trial?
             Yes ONo 0
                                                 N/A
         8. Did you appeal from the judgment of conviction?
             Yes 0 No 13
              Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.3 Page 3 of 8


I

    A0 HIli   II,   1111)



       9. If you did appeal, answer the following:
               (a)Nameofcourt _ _..:N"-'I..;.A=--_ _ _ _ _ _ _ _ _- - - ' - - - - -_ __

               (b)Result
               (c) Date ofresult

       10. Other than a direct appeal froin the judgment of conviction and sentence, have you previously filed any petitions,
           applications or motions with respect to thls judgment in any federal court?                       '
              Yes D No 1£J
       11. If your answer to 10 was ''yes'', give the following Infonnation:

               (a)(I) Nmoofaut'                                          N/A

                     (2) Nature ofp-oceeding



                     (3)GIoondsraised _ _ _ _ _ _ _ _...I;.N,..I....,A_ _ _ _ _ _ _ _ _ _ _ _ __




                      (4) Did you receive an evidentiary hearing on your petition, applil'8tion or motion?
                            YesDNoO                              N/A

                      ~Result-------------------------------------------
                      (6) Date ofresuIt

                (b) As to any second petition, application or motion give the,same Information:

                      (I) Name of court

                      (2) Nature ofproceeding



                      (3)Gromdsraised _ _ _ _ _ _.,--_ _ _ _ _-"NIL/LlA_ _ _ _ _ _ _ _ _ _ __




                                                                           13)
             Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.4 Page 4 of 8




A 01111111. fill)



                (4) Old you receive an evidentiary hearing on your petition, application or motion?
                    YesONoO
                                 N/A
                ~~--------------~------------------------------
                (6) Dale ofresult

             (c) Old you appeal, to an appellate federal court having jurisdiction, the result of action taken on any petition,
         .       application or motion?
                 (I) First petition, etc.    YesONoO
                 (2) Second petition, etc.   YesONoO                     N/A
              (d) If you did not appeal from the adverse action on any petition, application or motion, explain briefly why you did not: .

                                                                N/A




       12. State concisely evel)' ground on which you claim that you are being held in violation of the constitution, lawa or
           treaties of the United States. Summarize briefly the flIcts supporting each ground. Ifnecessary, you may attach
              pages stating additional grounds and flIcts supporting same.
              CAUTION 'fyou fail to set forth all grounds in this motion, you may be barred from presenting additional
              ground. at a later date.

               For your infonnation, the following is a list of the most frequently raised grounds for reliefin these proceedings. Each
             statement prec:eded by a letter constitutes a separate ground for pnsslble relief. You may raise any grounds which you bave
             other than those listed. ~, you should raise in this motion all available grounds (re1i11ing to this conviction) on which
             you based your aUegations that you are being held in custody unlawfully.
               Do not check any ofthese listed grounds. Ifyou select one or more of these grounds for reli~ you must allege facts. The
             motion will be returned to you if you merely check (a) through (j) or any one of the grounds.
              <a) Cmviction obtained by plea of guilty which was U1Ilawfully induced or not made voluntarily or with understanding of
                   thenatureofthe charge and the consequences ofthe plea.
              (b) Ccnvlction obtained by use of coerced confession.
           Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.5 Page 5 of 8



AO 243 (Rev. 5/85)



           (c) Conviction obtained by use of evidence gaiited pursuant to an unconstitutional search and seizure.
           (d) Conviction obtained by use of evidence· obtained pursuant to an unlawful arrest.
           (e) Conviction obtained by a violation oftho privilege against self-Incrimination.
           (t)Conviction obtained by the unconstitutional failure of tho prosecution to disclose to the defendant evidence favorable
                to the defendant.                                                                                  .
           (g) Conviction obtained by a violation of the protection against double jeopardy.
           (h) Conviction obtained by action of a grand or ped! jury which was unconstitutionally selected and impanelled.
           (i) Denial of effective assistance of counsel.
           0) Denial of right of appeal.
                     A.Groundone:       Petitioner is serving an illegal sentence based
                       on the Supreme Court ruling in Johnson                                      v. United States
                        suppcrtJng FAcrs (state brlejly without citing cases or law)    In John son the Sup r em e
                        invalidated the use of the Residual Clause to enhance a
                        Federal sentence. Petitioner was sentenced as a Career
                        Offender based on the use of the Residual Clause.                                                   Petition r
                        is serving an enhanced sentence based on the Supreuie
                        Court ruling in Johnson.                            This sentence should be vacated.
                     B.Groundtwo:       Proposition 47 reduced Petitioner's prior felonies
                            to misdemeanors.
                        Supporting FACTS (state briefly without citing cases or law):           Petitioner was
                        sentenced as a Career Offender based on prior felionies
                        in San Diego County for case numbers SCN120652, SCNl18468,
                        and SCN090042.                  Proposition 47 reduced all of· these prior
                         felonies to misdemeanors.                            Petitioner is therefore no
                         longer eligible for the Career Offender enhancement.

                     C. Ground three:                                N/A


                         Supporting FACTS (state briefly without citing cases or law):                     N/A




                                                                      (5)
           Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.6 Page 6 of 8



AO 2.' (ROv. 5/8&)




                     D. Ground four:                                        N/A



                         Supporting FACTS (state briefly without citing cases or law):
                                                                                  N/A




     13. If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds were not sO
         presented, and give your reasons for not presenting them:
                                                                                         N/A




      14. Do you have any petition or appeal now pending In any court as to the judg/tlent under attack?
          Yes 0 No Ci

      IS. Give the name and address, ifknown, of each attomey who repre$OIIted you in the following stages of the judgment attacked
          herein:

            (a) At preliminary hearing         Gregory D. Obenauer


            (b) At arraigmnent and plea



             ~~mm        ____________             ~S~a~m~e_a~S~aUhAQ~lT~e     __________________________


            (d) At sentencing                   Same as above




                                                                      16)
           Case 3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.7 Page 7 of 8



AO 243 {Rev. 5185)


           (e) On appeal _ _ _ _.-....:N::..</'-'A"---_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



           (I) In any post-conviction proceeding                         N/A



            (g) On appeal from any adverse ruling in a post-conviction proceeding               N/A



     16. Were you sentenced on more than one count ofan indictment, or on more than one indictment, in the same court and at
         approximately the same time?
         Yes 0 No[]

   . 17. Do you have any future sentence 10 serve after you complete the sentence imposed by Ihe judgment under attack?
         Yes 0 No IC
          (a) Ifso, give name and location of court which imposed sentence to be served in the future:

                                                            N/A



          (b) Give date and length oflhe above sentence:                       N/A



          (c) Have you filed, or do you contemplate tiling, any petition attacking Ihejudgmenl which imposed the sentence 10 be
              served in the future?
              Yes 0 No If)


        Wherefore, movant prays Ihat Ihe Court grant him ali reliefto which he may be entitled in this proceeding.




                                                                                     Signature of Attorney (if any)

                                                                                     Raul Alvarado

        I declare under penally of perjury Ihat Ihe foregoing is true and correct. Executed on

        June 22, 2016
                       (dale)


                                                                          ~~a£(:::.re-of-M-o-v-a-nt--·'·
                                                                            Raul Alvarado



                                                                   (1)
                               ~'":.8r'":"?i;



Raul·Alvarado                Case   3:16-cv-01859-BEN Document 1 Filed 07/20/16 PageID.8 Page 8 of 8
Reg No. 75922-198
Federal Correctional Institution
FCI Victorville Med II
PO 130X 3850
Adelanto, CA 92301




                                                                 Clerk Of _The Court
                                                                 SOuthern Dis't-r.i.ct Of California
                                                                '333 West Braodway
                                                                Suite 4290
                                                                San DiegQ, CA 92101
